                           UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

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 JAY CONNOR, individually and on behalf        )                Case No. 1:24-cv-02286
 of all others similarly situated,             )
                                               )
                        Plaintiff,             )
                                               )
        v.                                     )
                                               )        Defendant’s Response in Opposition of
 SERVICEQUIK INC. d/b/a/ ZING                  )       Plaintiff’s Motion for Anti-Suit Injunction
 BUSINESS MANAGEMENT                           )
 SOFTWARE                                      )
                                               )
                        Defendant.             )
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       Defendant hereby responds to Plaintiff’s motion for Anti-Suit Injunction. Dkt. No. 16.

For the reasons set forth below, Defendant requests that the Court deny the motion.

                                 Facts and Procedural History

       On March 3rd, 2024, the instant Plaintiff filed a lawsuit in South Carolina alleging a

violation of the South Carolina Telephone Privacy Protection Act (SCTPPA) based on the

communication complained of in the instant matter. Dkt. No. 10-1. No federal claims were

asserted. Id. The Plaintiff, among other things, forced Defendants to prepare for a 30(b)(6)

deposition only the cancel the day before. See Exhibit A. The Plaintiff indicated via email that

he would soon reschedule the deposition (Id), and thereafter, without consulting or informing the

Plaintiff, filed a motion to dismiss which was summarily granted the next day, with judgment

entered on August 19. Dkt. Nos. 10-5 and 10-7. Plaintiff then filed the federal action that very

same day that judgment was entered (Dkt. No. 1), and it wasn’t until Defense counsel received a



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courtesy notice of the Court’s order in the mail that he learned the state court action had been

dismissed. See Exhibit B.

           As Defendant argued in the state court, the state law claims are frivolous, as the South

Carolina Telephone Communications Privacy Protection Act (SCTCPPA) only punishes

messages sent to “natural persons” whereas, as we’ve argued ad nauseum here, the message was

sent to a business number listed online for a business. See SC Code § 37-21-20(6). Defendant

obviously had to incur legal fees as a result of the Plaintiff’s state court action, and, given his

representation on rescheduling the deposition, didn’t realize he was done seeking discovery.

Therefore, Defendant filed a motion for the Court to reconsider its summary grant of Plaintiff’s

voluntary nonsuit and sought summary judgment as well as costs in the action. Dkt. No. 10-81.

                                                       Standard

           “[A] federal court may not grant an injunction to stay proceedings in a State court except

as expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to

protect or effectuate its judgments.” AECOM Tech. Servs., Inc. v. Flatiron | AECOM, LLC, No.

19-CV-2811-WJM-KAS, 2024 WL 22639, at *1 (D. Colo. Jan. 2, 2024) (quoting 28 U.S.C. §

2283). “The Supreme Court has made clear that the statute imposes an absolute ban upon the

issuance of a federal injunction against a pending state court proceeding absent one of the

enumerated exceptions.” Id (quoting Atl. Coast Line R. Co. v. Bhd. of Locomotive Engineers, 398

U.S. 281, 297 (1970)). “The remedy should only be available in extraordinary cases, such as

when needed to prevent manifest wrong and injustice.” 43A C.J.S. Injunctions § 123. “There is

a strong public policy against enjoining the prosecution of a foreign action merely because of




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    This exhibit was errantly labeled “Plaintiff’s” motion rather than “Defendant’s”


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inconvenience or simultaneous, duplicative litigation, or where a litigant simply wishes to avail

him or herself of more favorable law.” Id.

                                             Argument

       To the undersigned, the only TCPA case in which an anti-suit injunction was granted is

Mey, which Plaintiff relies on, but Mey is not analogous at all. 2024 WL 2814701 (N.D. W.V.

May 17, 2024). In Mey, the plaintiff received a communication that allegedly violated the TCPA

and subsequently sent a demand letter to the potential violators. Id. at *1–2. While these violators

were communicating about settlement, they instead filed a fraud claim against the would-be

federal plaintiff in Puerto Rico state court, drafting the entire complaint in Spanish. Id. Puerto

Rico was a peculiar venue, as the state court had no personal jurisdiction over Ms. Mey, who did

not speak Spanish, and the court found the state lawsuit to be a SLAPP action intended to harass

the federal plaintiff. Id. at *5–6. The court noted the bad faith of this filing, which included

deceptive service methods and improper demands for TCPA-related determinations over which

the Puerto Rican court had no subject matter jurisdiction. Id.

       This case, however, resembles an opposite scenario: Here, the Plaintiff, dissatisfied with

state court proceedings, dismissed the case and filed in federal court on the same day, and now

seeks to deny the Defendant relief in state court. The Plaintiff’s actions resemble the misconduct

of the defendants in Mey, rather than that of the plaintiff.

       Contrary to Plaintiff’s assertion that Defendant seeks to “preempt this Court on the

question of TCPA and SCTPPA liability,” the state court case contains no federal claim. This is

because, in South Carolina state court, Plaintiff alleged only a single text message, while

establishing a TCPA violation requires proof of receiving “more than one telephone call in a

twelve-month period.” 47 U.S.C. § 227(c)(5).




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       Defendant’s motion in state court is important. The Defendant has alleged that Plaintiff’s

actions are harassing and frivolous, given that Plaintiff claims the SCTPPA applies despite the

Defendant’s phone number being listed publicly for business purposes. Notably, since the

Plaintiff’s case was dismissed without prejudice, the Defendant remains vulnerable to further

litigation and legal fees. Moreover, if the state court determines that the complaint was frivolous,

Defendant would be entitled to reimbursement for attorney’s fees incurred due to Plaintiff’s

abandoned “one-text” theory. For these reasons, Defendant has petitioned the state court to

reconsider its order granting dismissal without prejudice, which was signed a day after Plaintiff’s

filing without an opportunity for Defendant to respond. As stated in 27 C.J.S. Dismissal and

Nonsuit § 25, “[a] plaintiff’s voluntary dismissal, discontinuance, or nonsuit of an action is

subject to objection and denial on grounds of prejudice to the substantial rights of the defendant

or opposing party.”

       In sum, Plaintiff has not met the high burden required for a permanent injunction. The

cases Plaintiff cites are extreme examples of bad faith, which is not evident here. Defendant is

entitled to be heard on Plaintiff’s motion for nonsuit and has requested reconsideration. As the

court observed in Elam v. S.C. Dep’t of Transp., 361 S.C. 9, 22, 602 S.E.2d 772, 779 (2004),

“[t]here is nothing inherently unfair in allowing a party one final chance not only to call the

court’s attention to a possible misapprehension of an earlier argument, but also to revisit a

previously raised argument. It is inherently unfair to disallow such an opportunity.”

                                            Conclusion




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          For the foregoing reasons, the Defendant respectfully requests that the Court deny the

Plaintiff’s motion for permanent injunction and grant all other relief as the Court deems just and

proper.

                                               Respectfully submitted,

                                               /s/ Daniel Summa
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October 24, 2024
Charleston, SC




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